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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                    )
US DOMINION, INC., et al.           )
                                    )
            Plaintiffs,             )           Case No. 1:21-cv-00445-CJN
                                    )              Judge Carl J. Nichols
      v.                            )
                                    )
MY PILLOW, INC., et al.             )
                                    )
            Defendants.             )
________________________________________________________________________

                                     NOTICE OF APPEAL

       Notice is hereby given that My Pillow, Inc. appeals to the United States Court of Appeals

for the District of Columbia Circuit from the Order of this Court entered on August 11, 2021 (ECF

#53), denying My Pillow, Inc.’s motion to dismiss the complaint. The Order is a collateral order

that constitutes a “final decision” under 28 U.S.C. § 1291. Cohen v. Beneficial Indus. Loan Corp.,

337 U.S. 541, 546 (1949); Mitchell v. Forsyth, 472 U.S. 511, 524-530 (1985); Meredith v. Federal

Mine Safety and Health Review Commission, 177 F.3d 1042, 1048-1052 (D.C. Cir. 1999). See

New York Times Co. v. Sullivan, 376 U.S. 254, 279-283 (1964).

       This Notice is withdrawn if this Court grants My Pillow, Inc.’s Motion for Modification of

Memorandum Opinion and Order filed on August 24, 2021 (ECF #58) and the Court of Appeals

for the District of Columbia Circuit permits a 28 U.S.C. § 1292(b) interlocutory appeal to be taken.
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DATED: September 9, 2021


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